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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE


UNITED STATES OF AMERICA                )
                                        )
vs.                                     )   Docket No. 2:18-cr-00178-DBH
                                        )
SHOU CHAO LI                            )
DERONG MIAO                             )
                                        )
Defendants                              )


             SPEEDY TRIAL ORDER PER THE COURT’S 4/29/2020
                        GENERAL ORDER 2020-5


      This matter comes before the Court upon the Court’s own motion to

continue this case. The Court finds that due to the declaration of a public health

emergency arising out of the Coronavirus disease (COVID-19) outbreak,

announced by the World Health Organization, and on the advice of the Centers

for Disease Control and Prevention (CDC) and other health authorities, the Court

must take precautions to reduce the possibility of exposure to the COVID-19

virus and to slow the spread of the disease.

      In light of the global outbreak of COVID-19 and its far-reaching impact on

public health, the Court finds that a continuance in this case is necessary to

reduce any exposure to the disease.

      Taking into consideration the factors set forth in Title 18, United States

Code, Section 3161(h)(7)(B), the Court can and does find that the ends of justice

served by a continuance in this case outweigh the best interests of the public

and the defendants in a speedy trial.
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The Court hereby orders:

         1. The time between June 1, 2020 and July 6, 2020 is hereby excluded
            from calculations under the Speedy Trial Act, Title 18, United States
            Code, Section 3161 et seq.

         2. The case will be placed on the July trial list.



SO ORDERED.

Dated this 30th day of April, 2020.

                                                      /s/D. Brock Hornby
                                                      D. Brock Hornby
                                                      U.S. District Judge
